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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                    :
                                            :
      v.                                    :       Criminal No. 18-00032-2 (DLF)
                                            :
CONCORD MANAGEMENT AND                      :
CONSULTING LLC,                             :
                                            :
                      Defendant.            :

                                NOTICE OF APPEARANCE

       The United States, by and through its attorney, the United States Attorney for the District

of Columbia, hereby informs the Court that the following Assistant United States Attorneys are

entering their appearance in the above-captioned matter as co-counsel for the United States of

America:

       Deborah A. Curtis
       Jonathan Kravis
       Kathryn Rakoczy

                                            Respectfully submitted,

                                            JESSIE K. LIU
                                            United States Attorney for the District of Columbia

                                            By:            /s/
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                                            555 4th Street, N.W.
                                            Washington, D.C. 20530


                                CERTIFICATE OF SERVICE

       I hereby certify that on June 22, 2018, a copy of this Notice of Appearance was served by
Electronic Court Filing upon Eric Dubelier, counsel for the defendant.


                                                           /s/
                                                   Jonathan Kravis
                                                   Assistant United States Attorney
